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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 11-7145 September Term 2011

1:11-cv-01826-UNA
Filed On: May 4, 2012

Danny Joe Hirschfield,
Appellant
Vv.

State of California and California Department
of Mental Heaith,

Appellees

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BEFORE:  Sentelle, Chief Judge, and Henderson and Rogers, Circuit Judges

JUDGMENT

This appeal was considered on the record from the United States District Court
for the District of Columbia and on the brief and appendix filed by the appellant. See
Fed. R. App. P. 34(a)(2); D.C. Cir. Rule 34(j). It is

ORDERED AND ADJUDGED that the district court's order filed October 17,
2011, be affirmed. The district court properly concluded that appellant’s claims for
money damages against the State of California and a state agency are barred by the
Eleventh Amendment. See Edelman v. Jordan, 415 U.S. 651, 662-63 (1974); Ali v.
District of Columbia, 278 F.3d 1, 6 (D.C. Cir. 2002).

Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P.41(b); D.C. Cir. Rule 41.

Per Curiam

